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14
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15 Company
16                      UNITED STATES DISTRICT COURT
17                   NORTHERN DISTRICT OF CALIFORNIA
18 IN RE: ROUNDUP PRODUCTS               MDL No. 2741
19 LIABILITY LITIGATION,                 Case No. 3:16-md-02741-VC
20
   Joseph Holland, individually and      MONSANTO COMPANY’S NOTICE OF
21 on behalf of the estate of Rhonda     MOTION AND MOTION FOR
   Holland, 3:20-cv-08521-VC             SUMMARY JUDGMENT ON
22                                       CAUSATION GROUNDS
23                                       Hearing:
24                                       Date: May 23, 2024
                                         Time: 2:00 p.m.
25                                       Place: Courtroom 4 (Via Zoom)
26
27
28

                        MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2 RECORD:
 3         PLEASE TAKE NOTICE THAT on May 23, 2024 at 2:00 p.m. in
 4 Courtroom 4 of the United States District Court, Northern District of California,
 5 located at 450 Golden Gate Avenue, San Francisco, CA 94102, or as ordered by the
 6 Court, Defendant Monsanto Company (“Monsanto”) will move this Court for an
 7 order, pursuant to Federal Rule of Civil Procedure 56(c), entering judgment in its
 8 favor and against Wave 7D Plaintiff Joseph Holland (“Plaintiff”), on the grounds
 9 that there is no genuine issue of material fact as to any claim for relief brought by
10 Plaintiff, and Monsanto is entitled to summary judgment.
11
12 Dated: April 5, 2024                    Respectfully submitted,
13
                                           /s/ Jed P. White
14                                                Jed P. White
15                                         Attorney for Defendant Monsanto Company

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                MONSANTO’S NOTICE OF MOTION & MOTION FOR SUMMARY JUDGMENT
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2            To prevail on any of his claims, Plaintiff Joseph Holland (“Plaintiff”) must
 3 prove that Roundup was the proximate cause of Rhonda Holland’s cancer. Whether
 4 Roundup—a chemical compound—is defective, can cause cancer generally, and
 5 whether it actually did cause Rhonda Holland’s cancer specifically, are specialized
 6 issues for which expert testimony is required. Plaintiff failed to disclose any expert
 7 reports regarding specific causation, which were due March 22, 2024. Without expert
 8 testimony to prove specific causation, none of Plaintiff’s claims may proceed.
 9                                            BACKGROUND
10            Plaintiff is a resident of Louisiana, and alleges that exposure to Monsanto’s
11 Roundup-branded herbicides (“Roundup”) caused Rhonda Holland to develop
12 cancer.1 See Complaint. ECF 1, ¶¶ 1-4. Plaintiff seeks to hold Monsanto responsible
13 for her cancer, asserting seven causes of action. The lynchpin of Plaintiff’s complaint
14 is that glyphosate—the active-ingredient in Roundup—caused Rhonda Holland’s
15 cancer. See id.
16            On August 30, 2023, this MDL Court required all Wave 7D plaintiffs, including
17 Plaintiff in this case, to submit expert reports no later than March 22, 2024. See Order
18 Granting Joint Request for Revised Schedule for Wave 6-7 Cases and Adding Wave
19 8 Schedule (“Scheduling Order”) (MDL ECF #17234). The expert discovery required
20 by this Order must be accompanied by written reports signed by the experts and must
21
22
     1
         For cases “filed in, or removed to, federal courts across the country and transferred to the MDL
23 court by the Judicial Panel on Multidistrict Litigation[,] . . . the MDL court must apply the law of
     the transferor forum, that is, the law of the state in which the action was filed, including the transferor
24 forum’s choice-of-law rules.” In re Vioxx Prods. Liab. Litig., 478 F. Supp. 2d 897, 903 (E.D. La.
25 2007). Here, Louisiana is the transferor forum. Under Louisiana law, if a conflict of law exists, “the
     law of the state with a greater interest in the case will usually apply to substantive issues.” Henry v.
26   Maxum Indemnity Co., No. 20-2995-JVM c/w 20-2997-WBV-JVM c/w 20-2998-WBV-JVM, 2022
     WL 815275, at *5 (E.D. La. Mar. 17, 2022). However, the Court does not need to decide whether
27   Louisiana or California law applies because under both of those states’ laws (cited herein), expert
     testimony is required to establish specific causation in this case.
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                               MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1 contain “a complete statement of all opinions the witnesses will express and the basis
 2 and reasons for them,” among other information. Fed. R. Civ. P. 26(a)(2)(B)(i).
 3          Plaintiff did not submit an expert report regarding specific causation by the
 4 March 22, 2024 deadline. Specifically, Plaintiff has not served any expert report
 5 containing case-specific evidence of a causal link between Roundup exposure and
 6 Rhonda Holland’s cancer. (Declaration of Jed White (“White Decl.”), ¶ 3.)
 7                        SUMMARY JUDGMENT STANDARD
 8          Summary judgment is appropriate when there is “no genuine dispute as to any
 9 material fact and the moving party is entitled to judgment as a matter of law.” Fed. R.
10 Civ. P. 56(a). A fact is material when it could affect the outcome of the case, and a
11 dispute about a material fact is genuine “if the evidence is such that a reasonable jury
12 could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477
13 U.S. 242, 248 (1986). The moving party bears the burden of “informing” the Court
14 that there exists the “absence of a genuine issue of material fact.” Celotex Corp. v.
15 Catrett, 477 U.S. 317, 323 (1986). Once the moving party has met this burden, the
16 nonmoving party must come forward with evidence to show there is in fact a genuine
17 issue for trial. Id. at 323-24. A “complete failure of proof concerning an essential
18 element of the nonmoving party’s case” warrants summary judgment and “necessarily
19 renders all other facts immaterial.” Id. at 323.
20                                      ARGUMENT
21 I.       SUMMARY JUDGMENT IS REQUIRED BECAUSE PLAINTIFF
22          LACK THE REQUIRED ADMISSIBLE EXPERT TESTIMONY ON
23          CAUSATION.
24          Under California and Louisiana law, expert medical testimony is required to
25 establish causation of a specific physical injury if such cause is not within the common
26 knowledge of the jurors. Stephen v. Ford Motor Co., 134 Cal. App. 4th 1363, 1373
27 (2005) (in a product liability case “where the complexity of the causation issue is
28 beyond common experience, expert testimony is required to establish causation”);
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1 Jenkins v. Arbors on Lake Apartments, 2021-01662 (La. 3/22/22), 334 So. 3d 746,
 2 749 (“expert medical testimony is required when the conclusion regarding medical
 3 causation is one that is not within common knowledge”); Collett v. Weyerhaeuser
 4 Co., 512 F. Supp. 3d 665, 671 (E.D. La. 2021) (“When the allegations in a lawsuit
 5 involve claims of injuries resulting from chemical exposure, expert medical testimony
 6 is required to prove causation”); see also Fitzgerald v. Manning, 679 F.2d 341, 350
 7 (4th Cir. 1982) (“expert testimony is usually necessary to support the conclusion as
 8 to causation” where the cause of the alleged injury is “determinable only in the light
 9 of scientific knowledge”).
10         Here, Plaintiff alleges that Rhonda Holland was diagnosed with cancer, which
11 they claim was caused by his exposure to Roundup. See Compl. ¶¶ 1-13. “With
12 cancer the question of causation is especially troublesome[;] . . . it is frequently
13 difficult to determine the nature and cause of a particular cancerous growth.” Jones v.
14 Ortho Pharm. Corp., 163 Cal. App. 3d 396, 403 (1985). As a result, “the unknown
15 and mysterious etiology of cancer is beyond the experience of laymen and can only
16 be explained through expert testimony.” Id. (citation and internal quotation marks
17 omitted). Thus, the causal link between Rhonda Holland’s injury and Roundup is a
18 highly technical question of science that is beyond the jurors’ understanding.
19         Plaintiff’s deadline to disclose expert reports was March 22, 2024. See
20 Scheduling Order. To date, Plaintiff has not disclosed a single expert witness or report
21 regarding specific causation. Plaintiff had ample time and opportunity to satisfy his
22 expert disclosure obligations under Rule 26(a)(2) and the Scheduling Order. And
23 honoring strict deadlines in an MDL is particularly important. See Allen v. Bayer
24 Corp. (In re: Phenylpropanolamine (PPA) Prods. Liab. Litig.), 460 F.3d 1217, 1222
25 (9th Cir. 2006) (affirming dismissal of cases in MDL for failure to comply with case
26 management orders because “multidistrict litigation is different because of the large
27 number of cases that must be coordinated, its greater complexity, and the court’s
28 statutory charge to promote the just and efficient conduct of the actions”).
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1         This Court has granted summary judgment in favor of Monsanto in similar
 2 cases where the plaintiff failed to disclose a specific causation expert, finding that
 3 expert testimony was required to prove causation:
 4
           Expert testimony also is required to establish causation for Matthaus-
 5         Shelton’s other product liability and tort claims. That’s because whether
 6         Roundup caused her multiple myeloma is a highly technical question that
           is not within the common knowledge and experience of an ordinary
 7         layperson.
 8 Matthaus-Shelton v. Monsanto Company, 20-cv-00168, Doc. No. 17 (Order Granting
 9 Summary Judgment, dated November 29, 2022); see also Adrine Hann v. Monsanto
10 Company, 20-cv-7213, Doc. No. 23 (Order Granting Summary Judgment, dated
11 November 3, 2022) (“Whether Roundup caused [Plaintiff’s] multiple myeloma is a
12 highly technical and scientific question. Without expert testimony, a jury can only
13 speculate.”).
14         As a result of Plaintiff’s failure to disclose any expert on the issue of specific
15 causation, he cannot prove causation—an essential element of all his claims. Without
16 any evidence of case-specific causation, Monsanto is entitled to summary judgment
17 on all Plaintiff’s claims. See Stephen, 134 Cal. App. 4th at 1373-74 (plaintiff’s
18 “inability to present expert testimony was fatal to her product liability and negligence
19 claims, and [thus] nonsuit was proper”); Jenkins, 334 So. 3d at 750 (because the
20 plaintiff’s sole “medical expert . . . admitted she was unable to say that it was more
21 probable than not that plaintiff's injuries were caused by the fall[,] . . . we conclude
22 [the] defendants satisfied their burden of showing an absence of factual support for
23 an essential element of plaintiff's claim”); Howell v. BP Exploration & Prod., Inc.,
24 No. 17-3287, 2023 WL 1778933, at *3 (E.D. La. Feb. 6, 2023) (granting summary
25 judgment where plaintiff failed to “point[] to any admissible expert opinions on either
26 general or specific causation” and therefore was “unable to sustain her burden on
27 causation”); Sterling v. United States, 834 F. App’x 83, 87 (5th Cir. 2020) (upholding
28 summary judgment where the plaintiff failed to designate expert witnesses); Cooper
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1 v. Smith & Nephew, Inc., 259 F.3d 194, 196-197 (4th Cir. 2001) (affirming dismissal
 2 of product liability claims where appellant “had no admissible medical evidence
 3 indicating that [defendant]’s device was the proximate cause of his injuries”); Jones
 4 v. Danek Med., Inc., No. Civ. A. 4:96-3323-12, 1999 WL 1133272, at *5 (D.S.C. Oct.
 5 12, 1999) (“There being no expert testimony regarding causation, summary judgment
 6 is granted on the products liability allegations.”).
 7                                     CONCLUSION
 8         For the foregoing reasons, Monsanto is entitled to summary judgment on all of
 9 Plaintiff’s claims.
10
11 Dated: April 5, 2024                     Respectfully submitted,
12
                                            /s/ Jed P. White
13                                          Jed P. White
14                                          Attorney for Defendant Monsanto Company

15                             CERTIFICATE OF SERVICE
16         I hereby certify that on April 5, 2024, I electronically filed the foregoing with
17 the Clerk of the Court by using the CM/ECF system which will send a notice of
18 electronic filing (NEF) to all counsel of record who are CM/ECF participants.
19                                          /s/ Jed P. White
                                            Jed P. White
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
